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       1    IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA
       2
       3    IN RE:                 )MDL DOCKET NO. 16-MD-2700
                                   )ALL CASES
       4    GENENTECH HERCEPTIN    )Proceeding: Initial Case
            (TRASTUZUMAB)MARKETING )Management Conference
       5    AND SALES PRACTICES    )Date: 6-23-16
            LITIGATION             )Court Time: 10:00 a.m.
       6                           )
                                   )
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       9
      10                       TRANSCRIPT OF HEARING
      11             Before the Honorable Terence K. Kern
      12                         June 23, 2016.
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      23              ELIZABETH ANN BEHLES, CSR #121
      24
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       1                            APPEARANCES
       2
       3    For Plaintiffs:            MR. DAVID E. KEGLOVITS
                                       MR. STEVEN J. ADAMS
       4                               MR. JAMES PEBSWORTH
                                       MS. AMELIA A. FOGLEMAN
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                                       Attorneys at Law
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                                       100 West Fifth Street
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       8
       9
            For Comanche County Memorial Hospital:
      10
      11                               MR. JAMES SILL
                                       MS. TARA TABATABAIER
      12                               MR. CHRISTOPHER J. BERGIN
                                       Attorneys at Law
      13                               Sill Law Group, PLLC
                                       14005 North Eastern Avenue
      14                               Edmond, OK 73013
      15
      16    For Defendant:             MS. ALICIA DONAHUE
            Genentech                  MR. JAMES P. MUEHLBERGER
      17                               Attorneys at Law
                                       2555 Grand Boulevard
      18                               Kansas City, MO 64108-2613
      19
                   And                 MR. WILLIAM W. O'CONNOR
      20                               Attorney at Law
                                       NEWTON, O'CONNOR
      21                               15 West 6th Street
                                       Suite 2700
      22                               Tulsa, OK 74119
      23
      24
      25

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         1
         2                    THE COURT:       This matter comes on
         3    for case management conference In Re:
         4    Genentech Herceptin, MDL docket's 16-2700 on
00:00    5    here.     I'm glad to see that so many of you
         6    were able to make it.             You're traveling in
         7    packs for safety reasons?
         8                    All right.       We've got a number of
         9    things to handle and this is our first
00:00   10    meeting in this MDL case, and we'll try to
        11    establish as much as we can.
        12                    I think initially I need to get
        13    appearances for the Record, so if we could
        14    start with the plaintiffs, please.
00:00   15                    MR. KEGLOVITS:         Your Honor, Dave
        16    Keglovits on behalf of -- there are 15 cases
        17    and we represent 14 plaintiffs in 14 of those
        18    cases.      I'm happy to go through each of those
        19    for your Honor if you want to hear each of
00:01   20    those, but I just want to advise you that
        21    that's the allocation.             Mr. Sill, Sill Law
        22    Group represents the plaintiff in the other
        23    case, the Comanche County Memorial Hospital
        24    case.
00:01   25                    THE COURT:       Okay.

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         1                    MR. ADAMS:       Steve Adams
         2    representing the plaintiffs, co-counsel with
         3    Mr. Keglovits.
         4                    MR. DOVERSPIKE:         Adam Doverspike
00:01    5    also representing the same co-counsel with Mr.
         6    Keglovits.
         7                    MR. SILL:       Your Honor, James Sill
         8    representing Comanche County Memorial
         9    Hospital, and as indicated we are in the
        10    submission presented in court, as I'm sure his
        11    Honor has seen, asking that David be appointed
        12    as lead counsel, and that we be appointed as
        13    co-lead, so consequently I'll only be speaking
        14    when asked this morning.
00:01   15                    THE COURT:       All right.
        16                    MR. BERGIN:        Christopher Bergin,
        17    also from the Sill Law Group on behalf of the
        18    Comanche County Memorial Hospital.
        19                    MS. TABATABAIER:          Tara Tabatabaier
00:01   20    also from the Sill Law Group on behalf of
        21    Comanche County Memorial Hospital as well.
        22                    THE COURT:       All right.        Is that all
        23    from the plaintiffs' side?
        24                    MR. KEGLOVITS:         Your Honor, Bill
00:02   25    O'Connor on behalf of Genentech, and with me

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         1    is Alicia Donahue and Jim Muehlberger.
         2                    MR. MUEHLBERGER:          Good morning,
         3    your Honor.
         4                    MS. DONAHUE:        Good morning, your
00:02    5    Honor.
         6                    THE COURT:       Good morning.         There
         7    have been some late filings.                We used to call
         8    that years ago, fillings that came over the
         9    transom.       And you younger lawyers will not
00:02   10    understand that terminology at all; it's a
        11    ventilation system in old buildings.                   You
        12    could just throw it over the top of -- the
        13    windows on top of the doors.                And we'll get to
        14    those as they come up.
00:03   15                    Okay.     Mr. Keglovits, you indicated
        16    there are 15 cases now; you represent 14?
        17                    MR. KEGLOVITS:         Your Honor, through
        18    this week there are actually 16 plaintiffs.
        19    We represent 15 of the plaintiffs.                  I believe
00:03   20    there are 13 or 14 cases.
        21                    One of the cases is relatively new
        22    and thus has not been tagged with a
        23    conditional transfer order, so it might not be
        24    on what the Court has.             It's -- the style is
00:03   25    Blue Ridge Cancer Center in Virginia as the

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         1    plaintiff.        The others I believe all have
         2    either been transferred to your Honor, or in
         3    the case of Shindell Oncology case, a
         4    conditional transfer order has been provided
00:03    5    and should be --
         6                    THE COURT:       Okay, and so there are
         7    some that we're unaware of.               Let's talk about
         8    that while we have this opportunity.
         9                    What do you anticipate; what do you
00:04   10    have knowledge of?           Are there other cases that
        11    you believe are going to be included, or are
        12    there other cases that are -- will be filed?
        13                    MR. KEGLOVITS:         There are other
        14    practice groups who are interested in
00:04   15    participating, I think -- I don't want to get
        16    too deep into the issues, but from our
        17    perspective if we were permitted to file the
        18    Third Amended Complaint that we've asked the
        19    Court to allow us to file, which would include
00:04   20    a national class allegation, that would make
        21    it unnecessary for us to continue to stand up
        22    using individualized actions in other
        23    jurisdictions.         We're not aware of any other
        24    firms that are interested in bringing the
00:04   25    case, at least at this point.

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         1                    THE COURT:       And if, in fact, a
         2    class action were allowed, what kind of
         3    numbers do you think you're looking at?
         4                    MR. KEGLOVITS:          In terms of the
00:04    5    number of class members?
         6                    THE COURT:       Yes.
         7                    MR. KEGLOVITS:          In the thousands.
         8                    THE COURT:       Okay.     So Herceptin was
         9    basically sold to and used by facilities
00:05   10    throughout the United States, and those
        11    facilities would number certainly in the many
        12    hundreds, if not thousands.
        13                    MR. KEGLOVITS:          Yes, your Honor.
        14    It's also sold outside of the United States,
00:05   15    but as the proposed classes have been defined,
        16    at least at this point, those groups would not
        17    be included in this case.
        18                    THE COURT:       All right.        One of the
        19    matters that has been discussed that we need
00:05   20    to determine is of service of additional
        21    cases.      There was an indication that the
        22    plaintiff wanted to serve by email and that
        23    was objected to, and I think appropriately.
        24                    Mr. O'Connor, is there objection to
00:06   25    service by a certified mail, return receipt?

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         1                    MR. O'CONNOR:        Your Honor, one of
         2    the issues was we have some foreign entities
         3    that have not been served.               We don't represent
         4    them, and that -- and in addition to that,
00:06    5    there was a concern on our side that any kind
         6    of email would be a potential waiver of
         7    jurisdiction, venue and other issues.                    So we
         8    had, prior to all of these additional suits
         9    coming in, and certainly long before we
00:06   10    received the proposed Third Amended Complaint,
        11    we had talked about a stipulation that
        12    basically resolved any concerns we had on the
        13    defense.
        14                    So one thing we could certainly do
00:07   15    is go back and try to reach this same
        16    stipulation or a similar one that would
        17    resolve some of the issues, not certainly with
        18    respect to the foreign entities, but would set
        19    forth a -- that it's not a waiver of defenses;
00:07   20    that we were not agreeing to any kind of
        21    service by certified mail or otherwise of any
        22    parent or subsidiary or any division of
        23    Genentech.        So we had kind of anticipated this
        24    when we first were preparing the proposed CMO.
00:07   25    And I would ask your Honor if we could have

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         1    some time to maybe try to reach a similar
         2    stipulation that would outline the absence of
         3    any waiver on our part.             We'd limit who, if it
         4    was service by certified mail, who that could
00:07    5    be on, and still preserve the need for them
         6    to, you know, comply with the Hague convention
         7    and whatever else they'd do if they intended
         8    to pursue these foreign companies.
         9                    THE COURT:       You want to have
00:08   10    certified mail just to you and then you take a
        11    vacation?       All right.        Have the foreign
        12    entities been served?
        13                    MR. O'CONNOR:        Not to our knowledge.
        14    There was --
00:08   15                    THE COURT:       There was some
        16    indication --
        17                    MR. O'CONNOR:        They --
        18                    THE COURT:       -- of service in the
        19    first few cases was considered appropriate.
00:08   20                    There was service on Genentech, and
        21    there was certainly service on the United
        22    States Roche Holdings, but not on anybody
        23    else.     And, frankly, as service has proceeded
        24    there hasn't been a whole -- any problems to
00:08   25    our knowledge, so I don't understand why there

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          1    would have to be some novel service issue
          2    anyway.      They've, they've accomplished it, and
          3    to date -- well, I don't think certified mail
          4    is novel though.          We've had that for a while.
00:09     5                   MR. O'CONNOR:         Sure, yeah.        We had
          6    had this stipulation in mind to try to --
          7    which we were on the eve of presenting to your
          8    Honor when more cases came along and new
          9    counsel came in.
00:09    10                   THE COURT:        Mr. Keglovits, do you
         11    care about the foreign entities?
         12                   MR. KEGLOVITS:         Well, to be clear
         13    the only case that has foreign entities as a
         14    defense is Mr. Sills' Comanche County case.
00:09    15    And the stipulation that Mr. O'Connor is
         16    referring to, we think we've agreed to it.
         17    And then after we had had those discussions,
         18    the Comanche County case got filed and caused
         19    folks at this table to say, "Wait a minute, we
00:09    20    need to back up off of it and decide what we
         21    want to do." So I'm doubtful after that, if
         22    that's okay with your Honor.               And again, not
         23    to lobby too much for the Third Amended
         24    Complaint, but I think when it's filed then
00:09    25    all this stuff kind of goes away.

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          1                   THE COURT:        I think that's
          2    certainly possible.           But I'll give you ten
          3    days to come up with some, some agreement with
          4    regard to acceptance of service, and whatever
00:10     5    appropriate stipulations you need for
          6    protection.
          7                   MR. SILL:       And, your Honor,
          8    sometimes in comparable cases we've reached an
          9    agreement with defendants to dismiss one
00:10    10    defendant upon the agreement that that
         11    defendant will indemnify the judgment, or good
         12    judgment, so we will also discuss that with
         13    the defendant.
         14                   THE COURT:        Very well.       There was
00:10    15    an indication that the plaintiff wanted to
         16    directly file new actions in the Northern
         17    District and without filing them in the
         18    appropriate district and having been
         19    transferred to the MDL.             The defendant
00:10    20    objected to that.          I'm not familiar with that
         21    as being a normal procedure, and I don't --
         22    unless the defendant were to consent, it seems
         23    like it raises venue problems that shouldn't
         24    be handled here.          You still want to argue that?
00:11    25                   MR. KEGLOVITS:         Not really.        Again,

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          1    that was one of the things we had worked out
          2    when the Comanche County case got filed on --
          3    different defendants served, and backed up off
          4    of that.      So I think your Honor doesn't prefer
00:11     5    that process.        We had abdicated for it because
          6    it avoids the cost of local counsel in the
          7    jurisdictions --
          8                   THE COURT:        All right.
          9                   MR. KEGLOVITS:         -- and some
00:11    10    administrative things, but it's not
         11    substantive.
         12                   THE COURT:        What happens when the
         13    cases go back though, if they go back?
         14                   MR. KEGLOVITS:         Under the
00:11    15    stipulation that was discussed between the two
         16    of us, we would identify where the home
         17    district was, and then those cases would be
         18    transferred back to that home district in the
         19    direct filing.
00:12    20                   THE COURT:        Well, I'll leave that
         21    up to you.       If you can reach an agreement,
         22    that's fine.        I'm not going to require that.
         23             On the point of plaintiffs' leadership,
         24    the request has been made that the Court
00:12    25    appoint David Keglovits and Gable Gotwals as

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          1    lead counsel.        And, Genentech had Matthew Sill
          2    on here who --
          3                   MR. BERGIN:        Your Honor --
          4                   THE COURT:        -- does someone have a
          5    preference here?
          6                   MR. SILL:       My partner, Matthew
          7    Sill, wanted me to apologize for not being
          8    here today.       He is the governor from the
          9    Oklahoma Association of Justice to the
00:12    10    National American Association of Justice, so
         11    he's in Canada for the state meeting today and
         12    couldn't be here.          But, yes, and I have -- for
         13    Matthew's defense, I have Matthew's short form
         14    bio, and he has served on steering committee
00:13    15    and executive committee on a number of
         16    multidistrict litigations, and it is he rather
         17    than I we're asking you to appoint.
         18                   Might I approach the bench with
         19    this?
00:13    20                   THE COURT:        You may.
         21                   MR. BERGIN:        Thank you.        And I
         22    believe that the defendants, to the best our
         23    knowledge, have no objections to these
         24    appointments.        And we're also asking that Mr.
00:13    25    Keglovits and Mr. Sill be appointed as interim

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          1    class counsel, and the Court may want to
          2    address that a little later.
          3                   THE COURT:        Mr. O'Connor?
          4                   MR. O'CONNOR:         Your Honor, we do
00:13     5    concur with the lead counsel and the co-lead
          6    counsel that they are -- they have come
          7    together on, but we think it's premature to
          8    appoint an interim class counsel at this stage.
          9                   We, for obvious reasons, think they
00:14    10    have a huge hurdle on certification and we
         11    have some other issues that you're aware of on
         12    the preemption.         But in any event, that's the
         13    only issue we had with the leadership
         14    structure was we thought it was premature to
00:14    15    appoint interim class counsel at this point.
         16                   THE COURT:        All right, the Court
         17    appoints Mr. Keglovits and Gable Gotwals as
         18    lead counsel, and Matthew Sill with the Sill
         19    Law Group as co-lead counsel.
00:14    20                   One of the matters I referred to as
         21    coming over the transom was the plaintiffs'
         22    Motion for Leave to File a Third Amended
         23    Complaint.
         24                   Mr. Keglovits, you want to address
00:14    25    that?

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          1                   MR. KEGLOVITS:         Yes, your Honor.
          2    It is our attempt to, as I earlier mentioned,
          3    create a cooperative case governing document
          4    that would bring together all claims of all of
00:15     5    the parties that we as counsel see as
          6    appropriate in the first instance, and to
          7    reduce the need for some of these other
          8    administrative things.
          9                   Our hope is that working together
00:15    10    with Mr. Sills' group, we can jointly propose
         11    a class definition of the motion to certify a
         12    class with jointly agreed upon claims.                    We
         13    spent a lot of time this morning working on a
         14    proposal to come to you with today on a number
00:15    15    of items and got some good cooperation.                    So
         16    our hope is that when we have this Third
         17    Amended Complaint, if we get a chance to have
         18    a Third Amended Complaint, it's really going
         19    to streamline what's going to happen going
00:15    20    forward in the case.            It would include a
         21    request to certify a national class, your
         22    Honor.
         23                   THE COURT:        You intend this Third
         24    Amended Complaint to govern the MDL?
00:16    25                   MR. KEGLOVITS:         That would be our

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          1    hope in consultation Mr. Sills' group, that
          2    would be the operative document for all
          3    parties claiming against Genentech.
          4                   THE COURT:        Okay.
00:16     5                   MR. KEGLOVITS:         And in my
          6    judgment -- and one more thing.                 It doesn't
          7    really change the contour of the case as it
          8    stands right now.          There are a group of
          9    practices that we represent, roughly a billion
00:16    10    dollars' worth of purchases of this drug.                      Mr.
         11    Sills' group is abdicating for a national
         12    class already, and so it's really just going
         13    to bring it all together in one place.
         14                   THE COURT:        And this pretty much
00:16    15    assumes that Comanche County is one of them?
         16                   MR. KEGLOVITS:         If we get together
         17    and get the right class definition and the
         18    right claims and the right defendants, it
         19    would.
00:16    20                   THE COURT:        Well, this Third
         21    Amended Complaint seems -- well, okay.                    What's
         22    the defendant position?
         23                   MR. O'CONNOR:         Your Honor, now --
         24                   THE COURT:        You can move that
00:17    25    microphone up just a bit, maybe we can turn it

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          1    up just --
          2                   MS. TURNER:        We'll do both.
          3                   MR. O'CONNOR:         We just saw -- we
          4    had this underlying tone from the plaintiffs
00:17     5    throughout this of some supposed delay on our
          6    end, and yet all of the work we did in
          7    preparing the agenda and preparing a proposed
          8    CMO, never was there any mention of yet
          9    another application to amend the Complaint.
00:17    10    We see that on Monday and --
         11                   THE COURT:        We didn't have Comanche
         12    County asking for a class action at that time
         13    either.
         14                   MR. O'CONNOR:         That's correct.
00:17    15    Well, we have in the last month, but
         16    regardless of that, we're now hearing about
         17    another perhaps consolidated -- right now we
         18    have two competing overlapping class actions.
         19    We're hearing that there may be another but we
00:17    20    haven't seen it yet.            It's a little hard to
         21    provide our position on it because I don't
         22    know what that Complaint's going to look like.
         23    Right now they're very different class action
         24    allegations.        One has California state law
00:18    25    claims.      One has a certain period of time

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          1    that's --
          2                   THE COURT:        All right, fine.          Maybe
          3    I've misled you.          I'm really interested in
          4    whether or not you object to the filing of the
00:18     5    Third Amended Complaint.
          6                   MR. O'CONNOR:         Our, our --
          7                   THE COURT:        And I'm understanding
          8    that there are allegations that would indicate
          9    they want a class action.
00:18    10                   MR. O'CONNOR:         Right.      And if
         11    we're -- you know, if the Third Amended
         12    Complaint that we saw on Monday is the one
         13    that would be the class action allegations, I
         14    don't think we would have objection if this
00:18    15    other Comanche class action complaint either
         16    goes away or is assumed into the one that was
         17    filed Monday.        But beyond that I just don't
         18    know what's coming with this proposed
         19    consolidation or resolution.
00:19    20                   THE COURT:        Well, the elephant in
         21    the room is obviously the class action aspect
         22    of this, which we haven't gotten to.                   But I
         23    don't have any problem with the Third Amended
         24    Complaint, and I'm going to allow the
00:19    25    plaintiff leave to file that Third Amended

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          1    Complaint.       At least in the time frame that
          2    we're in right now, that seems to be helpful
          3    and not harmful, and it kind of gives us a
          4    better base to work with.              That includes both
00:19     5    the Comanche County and the other pending
          6    cases so...
          7                   Now, I understand you're alluding
          8    to the fact that this could go a lot of
          9    different directions from here, and I
00:19    10    understand that.          I think we're better served
         11    by allowing that Third Amended Complaint.
         12                   Now, that brings us, according to
         13    my notes, to the biggest timing issue, and I
         14    think that the defendant wants to be able to
00:20    15    file an early Motion For Summary Judgment on
         16    the dispositive issue of Federal preemption.
         17    The plaintiffs have objected to that and a
         18    brief was filed, I guess this morning by the
         19    defendant with regard to that.
00:20    20                   And Mr. Keglovits, it seems like if
         21    you can keep -- if I can keep this from
         22    delaying things too long, that this is
         23    something that needs to be decided fairly
         24    early or you could spend a lot of money
00:20    25    unnecessarily.

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          1                   MR. KEGLOVITS:         Two issues for us,
          2    your Honor.       The first is we don't want to be
          3    cut by a thousand knifes.              We've been coming
          4    to you saying by just denying the preemption
00:21     5    motion, now we've got the next best summary
          6    judgment motion that's really going to make it
          7    efficient for you to consider and show stay of
          8    evidence.       As your Honor knows, this case has
          9    been on file for a year and still hasn't
00:21    10    gotten to discovery, so we want to kind of
         11    avoid that scenario.            And we also, more
         12    importantly, if your Honor allows the filing
         13    of this summary judgment motion, which they
         14    can file whenever they want to, our preference
00:21    15    would be that it doesn't have impacts on the
         16    other aspects of the case.              Because the way
         17    they're presenting it right now, they want to
         18    file a motion and they want to stay everything
         19    else.     And as I understand their proposal,
00:21    20    they want to file a motion, present their
         21    summary judgment evidence in a motion, and at
         22    that point we can ask to do discovery of the
         23    information that's in their motion.                  We think
         24    that's way too restrictive.
00:21    25                   If we're going to commence the

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          1    case, and I hope we will, and they have a
          2    motion that they want to get on file in 30 or
          3    60 or 90 days, I would like to use that period
          4    of time to begin discovery on the issues that
00:22     5    are germane to the motion.              So because, as
          6    your Honor knows, sometimes people don't agree
          7    on whether something is discoverable what --
          8    like Magistrate Wilson.             There could be a lot
          9    of time wasted.         And I hate for them to file a
00:22    10    motion and then the discovery starts, and we
         11    have long delays until we can get the
         12    discovery revolved and then a response.                    So in
         13    short, we don't really have a position one way
         14    or the other on when they file this motion so
00:22    15    long as it's not at the first or the fourth.
         16    But we want the other aspects of the case to
         17    proceed as normal while they're considering
         18    putting together this motion.
         19                   THE COURT:        What type of discovery
00:22    20    do you feel is necessary to defend the motion?
         21    I mean, you have a good idea of what is
         22    coming.
         23                   MR. KEGLOVITS:         Well, we spent some
         24    time talking with counsel for the defense
00:22    25    about this proposal and asking questions about

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          1    what they needed to file.              And at that point
          2    it was last week, they didn't have a lot of
          3    specifics about it.           But, for example, one of
          4    the questions we asked was:               "Do you intend to
00:23     5    have expert affidavits in support of this
          6    motion?"      The answer was:          "We haven't made
          7    that decision."
          8                   We know that there are materials
          9    that are provided to the FDA.                We are wanting
00:23    10    to get those materials.             We've been unable to
         11    get them in unredacted form by way of a FOIA
         12    request.      They raised the issue in the
         13    submission that came in earlier this week,
         14    Tuesday or Wednesday, and as I understand it
00:23    15    that didn't get filed in the docket, at least
         16    I haven't seen it on page streaming.                   But in
         17    that submission they suggest that going
         18    forward as we planned to would make it
         19    impossible for them to create a manufacturing
00:23    20    facility that could comply with both the
         21    Federal and the State law.              Well, I think it
         22    would be fair for us to understand something
         23    about their manufacturing processes to try to
         24    rebut that allegation.            So those are some
00:24    25    examples of discovery that I think are going

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          1    to be built into this Motion For Summary
          2    Judgment.
          3                   THE COURT:        Well, how much time do
          4    you think is necessary for discovery just for
00:24     5    the preemption issue?
          6                   MR. KEGLOVITS:         I hate to be one of
          7    those lawyers that doesn't give you a straight
          8    answer, but not having seen the motion yet, we
          9    just kind of got a foreshadowing.
00:24    10                   THE COURT:        Do you think you want
         11    to wait until you see the motion before you --
         12    because you want 60 days before he files a
         13    motion?
         14                   MR. KEGLOVITS:         I'd like to start
00:24    15    on the things that I have identified as being
         16    information we think is going to be germane to
         17    any motion.       And then once we get the motion
         18    we can supplement that with germane --
         19                   THE COURT:        Germane to any issue
00:24    20    indicates discovery on the merits.
         21                   MR. KEGLOVITS:         I'm sorry, what I
         22    meant was germane to any issue that I see as
         23    arising in the preemption contest.                  And that
         24    their -- this case is going to present a lot
00:25    25    of discovery that has overlap between the

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          1    merits and particular issues, class
          2    verification or issues of relevance.                   It's
          3    hard to put any limits on it.
          4                   We understand the efficiencies that
00:25     5    your Honor identified, and we certainly don't
          6    want to go spending a whole bunch of money
          7    collecting millions of gigabytes of ESI and
          8    all kinds of topics if this case determines
          9    motions, so we will be responsible in how we
00:25    10    approach it.        We're just really hesitant to
         11    have your Honor order limitations on us, not
         12    knowing what we're going to get and knowing
         13    how the case is processed to this point.
         14                   THE COURT:        Mr. O'Connor?
00:25    15                   MR. O'CONNOR:         Your Honor, it
         16    wasn't just a week ago that we had this
         17    discussion.       It was -- it was throughout the
         18    process that we have been collaborating and
         19    trying to confer with plaintiffs' counsel.                      We
00:26    20    think this is a question of law for the Court
         21    to decide.       And as your Honor stated, we think
         22    under the Manual for Complex Litigation and
         23    for the statutes that created MDLs, that it
         24    certainly promotes efficiency and is
00:26    25    encouraged, particularly when it's potentially

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          1    a threshold dispositive issue.
          2                   We would have a motion, and it
          3    would be supported by expert affidavit and
          4    that would bring into consideration the
00:26     5    specific regulation, as well as the USP that's
          6    at issue.       There's been an assertion here that
          7    we're not providing the quantity of product
          8    that's on the label, and this Federal
          9    preemption regulation from the FDA, they all
00:26    10    have a specified parameter that we are
         11    required to meet.          Beyond that there's a
         12    specification approved by the FDA that even
         13    under their allegations of what has been
         14    received by these institutions would be well
00:27    15    within those parameters.             So we have a
         16    situation where we're dealing with a biologic
         17    that's actually grown; there's DNA
         18    enhancements.        There's all kinds of -- this
         19    isn't just a pill.           It's a -- it's a
00:27    20    complicated, complex biologic that is then
         21    freeze dried and delivered with a sterile
         22    solution to be reconstituted.
         23                   All of this, as you might imagine,
         24    spent years before the FDA before approval.
00:27    25    And now they're asking that through state

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          1    warrant, breach of warranty claims that that
          2    ignore the entire regulatory framework that
          3    exists; that it ignore all of the calibration
          4    of manufacturing and everything else that's
00:28     5    been done and blessed by the FDA.                 So that's
          6    why we believe it is a threshold issue.
          7                   This is not a -- we don't believe
          8    there's a lot of discovery that would be
          9    required on the preemption issue because of
00:28    10    the regulations and the language of the
         11    specifications as well.             So we think it is --
         12    we think it does support and promote
         13    everything that the MDL in the name of complex
         14    litigation asks us to do, as well as encourage
00:28    15    the Court to do.
         16                   THE COURT:        Well, if I agree that
         17    this is the threshold issue and we need to
         18    decide this first, what can you do to
         19    expedite?       I think you wanted 60 days from
00:28    20    today's date to file your Motion.
         21                   MR. O'CONNOR:         (Indicating).
         22                   THE COURT:        But it seems like you
         23    should be giving a lot of this information to
         24    the plaintiffs as soon as possible so that
00:29    25    we're not -- I don't like the idea of starting

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          1    the plaintiffs' discovery after you've filed
          2    your motion in 60 days while they're just
          3    sitting there doing nothing.               If you have the
          4    information that you are going to rely on, it
00:29     5    seems like it would be better served if they
          6    can start discovery rather quickly just as to
          7    that issue.
          8                   MR. O'CONNOR:         And again, I don't
          9    want to invite discovery disputes, but we
00:29    10    haven't seen much limitation on anything that
         11    we've received so far.            And so with the
         12    regulation, the expert saying who's -- who is
         13    in the industry and has FDA experience, with
         14    all of that, I just can't imagine.                  And I
00:30    15    sensed a little bit of that from what I just
         16    heard, that there are elements of discovery
         17    that would go well beyond this fairly simple
         18    regulatory framework that we've been
         19    preempted as State law claims.
00:30    20                   So I -- we would certainly be
         21    willing, your Honor, to engage in and provide
         22    whatever discovery you think is reasonable,
         23    and if the experts relied on it, then we
         24    produce it, whatever that is.                I don't
00:30    25    think that -- we're certainly not trying to

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          1    hide anything with respect to the preemption
          2    issue, but we've just never heard any
          3    reasonable fashioning of discovery that would
          4    be aimed at the preemption issue.                 It's always
00:30     5    been let's go get everything we can under the
          6    sun, and meanwhile, you know, prevent us from
          7    trying to go get key issues if they ever got
          8    to a damages phase on their own
          9    reimbursements, where these institutions are
         10    reimbursed 106 percent of what they pay us, or
         11    113 percent.        Well, then, there's a wide range
         12    of what they received, so they have a damage
         13    hurdle too.       And I'm getting beyond reaction,
         14    but it's just that it's been difficult to
         15    agree on what that discovery is, and so I've --
         16                   THE COURT:        Well, I believe your
         17    option is full-blown discovery on preemption,
         18    on class, on merits, starting tomorrow.                    So it
         19    seems like even if you have disputes that come
00:31    20    up along the way that you're better off
         21    getting your motion heard first in spite of
         22    some potential difficulties.
         23                   MR. O'CONNOR:         I would agree there.
         24                   THE COURT:        All right.       Mr.
00:31    25    Keglovits, anything else?

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          1                   MR. KEGLOVITS:         Just two things,
          2    your Honor.       First of all, I don't want you to
          3    leave here with the impression that we think
          4    this is a particularly important motion.
00:32     5    There may have been a whole lot of research
          6    done to create the secret sauce, but when you
          7    pour it in a can and it says it's a 12 ounce
          8    can, it's not too hard to figure out if
          9    there's 12 ounces in a can.               And when you know
00:32    10    what the measurement is, it's not too hard to
         11    write down what the measurement is.                  If you
         12    choose to write down a number that's different
         13    than what you put in, that's the problem.                      So
         14    all this secret sauce and science aside, this
00:32    15    is a pretty simple case.
         16                   Having said that, I just heard now
         17    for the first time that they're going to have
         18    an expert, and I suppose for the first time
         19    we'll get an exact date along with the Motion
00:32    20    For Summary Judgment, which is a little out of
         21    phase with the way issues are typically
         22    presented to this Court.             I would think you
         23    could get his affidavit well in advance of the
         24    filing of the motion so we can begin to
00:32    25    understand who we need to get to counter that

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          1    affidavit.       And you --
          2                   THE COURT:        That's what I thought I
          3    was at least proposing or throwing out is that
          4    the defendant needs to be forthcoming with all
00:33     5    of the information that they have already that
          6    they are going to use in formulating their
          7    Motion For Summary Judgment, and you can start
          8    discovery on that right away.
          9                   MR. KEGLOVITS: (Indicating).
00:33    10                   THE COURT:        Then after the motion
         11    is filed, I assume you'll want some clean up
         12    time.     But, you know, I think this is an issue
         13    that I don't know whether it's that critical
         14    or not; I have no idea at this time.                   But I
00:33    15    think if it's one that can dispose of the
         16    entire case then we need to go ahead and do
         17    that first.       But I don't want to -- I don't
         18    want to end up being six months down the road
         19    just doing discovery on this motion and your
00:33    20    responses and so forth.             So it seems like to
         21    me that if the defendant can start giving you
         22    affidavits, information, whatever they already
         23    have possession -- in their possession, and
         24    what they obtain as they go and you can start
00:34    25    discovery on that, well then you wouldn't need

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          1    more than maybe 30 days after the motion's
          2    filed.
          3                   MR. KEGLOVITS:         Yes, it all depends
          4    on the timing.         And it would be helpful today
00:34     5    if they told us who their expert is or what
          6    her or his qualifications are so we can begin
          7    our search for the right person to address
          8    that.
          9                   THE COURT:        All right.       I'm not
00:34    10    going to -- I'm going to stay the discovery on
         11    the class certification matter and the merits
         12    of the case at this time.              I'm going to allow
         13    the defendant to file 30 days from today's
         14    date, unless that falls on a Saturday or a
00:35    15    Sunday, the Motion For Summary Judgment based
         16    on the preemption.           I'm going to require the
         17    defendant to provide the name of any and all
         18    experts that you're aware of by tomorrow, and
         19    any additional experts that you contemplate
00:35    20    using, well, within 30 days of today's date.
         21    And I want you to begin the process and begin
         22    the process, I mean, like within the next ten
         23    days of providing the plaintiffs with the
         24    material that you are already have.
00:36    25                   (Off the Record)

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          1                   THE COURT:        I'm -- that apparently
          2    wasn't what I understood.              Sixty days to file
          3    a motion.       What I want to happen within 30
          4    days is the names of all potential experts,
00:36     5    whatever experts you're aware of right now I
          6    want you to give them tomorrow.
          7                   But what concerns me is that as
          8    this progresses there may be some changes in
          9    personnel, and what I want to make sure of is
00:36    10    that at some point before this 60 days is up
         11    that everybody knows who's -- who the players
         12    are.     And 30 days may be too long, I mean, we
         13    can discuss that.          But I want, you know, I
         14    want this to be ongoing.             And I want the
00:37    15    discovery to be on issues that bear on or
         16    reasonably might bear on the question of the
         17    Federal preemption, and that should be taken
         18    in a broader sense.
         19                   I don't agree with the defendant
00:37    20    that it's going to be that narrow.                  It can be
         21    just wherever your discovery takes you.                    When
         22    you get -- it gets to the point that it's more
         23    on class or on the merits of the case, then
         24    all you have to do is call, call me or call
00:37    25    the Magistrate and we'll let you know.

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          1                   Now, Mr. Keglovits, what problems
          2    do you see that I've just created?
          3                   MR. KEGLOVITS:         Well, I want to
          4    talk with some of the people who are smarter
00:38     5    than me before I identify them.
          6                   The thing that's out there that I
          7    didn't hear in your order was when our
          8    response would come following the filing of
          9    their motion.
00:38    10                   THE COURT:        Thirty days is what I
         11    intended.
         12                   MR. KEGLOVITS:         All right.        Could
         13    we have leave at least to come back to you, if
         14    we think it's going to take more than that,
00:38    15    because we're having trouble finding an expert
         16    or something like that?
         17                   THE COURT:        You may, but I assume
         18    you're going to -- I assume you already have
         19    some ideas about experts that are out there.
00:38    20    But sure, thirty days is what I anticipate it
         21    will take you to respond, if you get all the
         22    information that I'm hoping that they're going
         23    to give you.        And they're going to be
         24    forthcoming, and you're going to have this
00:38    25    ahead of time.         And if the games start and,

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          1    you know, switching experts and switching
          2    ideas and reports and stuff then yes, I'll
          3    give you more time.
          4                   MR. KEGLOVITS:         And then could I
00:39     5    maybe ask your Honor to expedite response time
          6    on Interrogatories, Request for Admission,
          7    Request for Production to make it 15 days
          8    instead of 30, allowing for the compressed
          9    schedule?
00:39    10                   THE COURT:        I think that's
         11    appropriate.        What other?        Fifteen days
         12    response time on the Interrogatories?
         13                   MR. KEGLOVITS:         Written discovery,
         14    and I don't know whether we're going to need
00:39    15    any depositions of their people, but I'm
         16    assuming within this discovery you've outlined
         17    we identify someone we need to depose, we've
         18    got the leeway to do that.
         19                   THE COURT:        In the case of
00:40    20    Genentech it wasn't a case, it was an order,
         21    the initial case management scheduling order.
         22    They took care of a lot of those things
         23    that -- would that be preferable, the Court go
         24    ahead and order today and give you time frames
00:40    25    for depositions and spacing depositions be

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          1    completed, Interrogatories?
          2                   MR. KEGLOVITS:         I think that would
          3    help.
          4                   THE COURT:        All right.       We'll do
00:40     5    that.     So that's going to put you on a pretty
          6    short fuse on this.           Is everyone prepared to
          7    march forward just on the preemption?
          8                   MS. DONAHUE:         Good morning, your
          9    Honor.     I'm Alicia Donahue, I'm the --
00:40    10                   THE COURT:        Do you need more time
         11    for you to be able to recover from...
         12                   MS. DONAHUE:         Yes.    I'm here
         13    compromised.        One issue that is outstanding
         14    that will affect the discovery situation is
00:41    15    that Protective Order.            Prior to going to the
         16    GP&L panel and coming back to you, we had a
         17    Protective Order motion with Magistrate Lane.
         18    He entered an Order.            There's one provision of
         19    the Protective Order that he entered that we
00:41    20    at Genentech have issue with.                We filed an
         21    objection with your Honor and briefed that,
         22    but then new things -- everything started
         23    happening, so that is an issue that's been
         24    standing, and it's very important to Genentech
00:41    25    in terms of their highly confidential information

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          1    that much of this discovery; in fact, all of
          2    this discovery will be put on the table.
          3                   You know, most of our manufacturing
          4    documents are formulas, are very highly
00:41     5    confidential.        They are filed with the FDA,
          6    so, you know, the list is fairly long.                    And
          7    we'll --
          8                   THE COURT:        Do you anticipate
          9    reaching these issues in this type of
00:42    10    discovery just on preemption?
         11                   MS. DONOHUE:         I think a lot of it
         12    will, you know, will come into play, but
         13    assuming that discovery is what the
         14    plaintiff's made it sound like.                 I could
00:42    15    propose, the only issue that we have on the
         16    order is that we have asked for an attorneys'
         17    eyes only provision for highly confidential
         18    documents.
         19                   The order that the Magistrate
00:42    20    entered allows for two designees from each
         21    corporate defendant -- I'm sorry, or corporate
         22    plaintiff to also review the information.
         23    Given that we are now in a class action
         24    situation and there's multiple plaintiffs,
00:42    25    it's -- Genentech having a right, since it was

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          1    put out there.         So what I would propose, your
          2    Honor, is that unless we have the attorneys'
          3    eyes only provision, and their expert of
          4    course who will need to see it, you know, that
00:43     5    it's kept highly confidential for attorneys
          6    and experts to review and not further than
          7    that at this -- at this stage.
          8                   THE COURT:        Only for the discovery
          9    that's taking place with regards to --
00:43    10                   MS. DONAHUE:         Uh-huh.
         11                   THE COURT: -- the preemption?
         12                   MS. DONAHUE:         That would be fine
         13    then.     If need be, and we feel we needed to
         14    further it, should the provision not take care
00:43    15    of the case, we will be back if need be.                     But,
         16    you know, hopefully not.             Because I do think a
         17    lot of -- a lot of the information we're
         18    concerned about will be coming out in this
         19    phase given the discovery plan that we've --
00:43    20    that has been put in place.
         21                   THE COURT:        Mr. Keglovits?
         22                   MR. KEGLOVITS:         The way it was
         23    played out in front of Magistrate Judge Wilson
         24    was we are concerned that if we're not allowed
00:43    25    to share information with our clients, and

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          1    most of the officers are clients; most of the
          2    directors of our clients are practicing
          3    oncologists.        We benefit greatly from their
          4    help in understanding the information we get.
00:44     5    So we want to be able to go to them with what
          6    we receive from Genentech and get their views
          7    about it.
          8                   I don't see a real issue here if we
          9    identify only two representatives of each
00:44    10    client that we can share this information
         11    with, and we're not talking about punitive
         12    class members.
         13                   THE COURT:        Well, if you have two
         14    of each client, you're up to about 30?
00:44    15                   MR. KEGLOVITS:         That's right.         And
         16    remember, we're not competitors of Genentech.
         17    We're not trying to manufacture these drugs.
         18    All we want to do is present whatever
         19    scientific information comes to people who are
00:44    20    very skilled in this science.                And to do
         21    otherwise bars us to go hire a bunch of people
         22    to do what our physicians probably could do
         23    without hiring anyone.            To say nothing of,
         24    ordinarily, unless you've got a competitor
00:44    25    versus competitor, there aren't restrictions

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          1    on talking with your clients about the
          2    strengths and weaknesses of the case.                   So I
          3    just don't see that this issue is properly
          4    placed in this case.
00:45     5                   Now remember, this is a patent
          6    communication, so many of these disclosures
          7    have been made so that they can get this
          8    monopoly position.           I think it's all presented
          9    in briefs to your Honor that come out of the
00:45    10    appeal.
         11                   Our preference would be that your
         12    Honor sustain the decision from Magistrate
         13    Judge Wilson, and that Protective Order apply
         14    to this discovery as well as all the rest of
00:45    15    it.
         16                   THE COURT:        My understanding
         17    originally was they were worried about
         18    competitive information and pricing information,.
         19    and I'm just not sure why we're getting into
00:45    20    much of that on preemptions.
         21                   MS. DONAHUE:         May I approach, your
         22    Honor?
         23                   THE COURT:        You may.
         24                   MS. DONAHUE:         There were --
00:45    25    originally, when we were dealing with one of

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          1    the preemption issues, there were two levels
          2    of confidential information that we were
          3    concerned about.          One being on regulatory, you
          4    know, manufacturing information, and then the
00:46     5    other being commercial as you said.
          6                   Now, we're concerned, you know,
          7    because of where we are with the bench motion,
          8    we're concerned solely about the regulatory
          9    information for this phase.               And I wanted to
00:46    10    add that if the plaintiffs were to go to the
         11    FDA and request, for instance, our
         12    biologically -- or biological licensing
         13    application, it would come back to them highly
         14    redacted because of the trade secret
00:46    15    information that's contained there.                  And we
         16    cited cases in our brief, but I think also
         17    it's just -- it's a great, you know, fear for
         18    Genentech that even, you know, the two people
         19    that may be designated from each of these
00:46    20    entities, even though they're not competitors,
         21    per se, and they're not seen as doing business
         22    with them, once the information's out there,
         23    it's a very slippery slope.               And given the
         24    level of highly, highly, highly confidential
00:46    25    trade secret information that we're talking

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          1    about, I cannot overstate the importance of
          2    this issue from Genentech's, you know,
          3    competitive and trade secret point of view.
          4    It's just -- it's so important to them, so...
00:47     5    and I don't think that we're asking for too
          6    much; the attorneys' eyes only and the expert
          7    person matter because it will be covered under
          8    the confidentiality agreement.                And if others
          9    need to see it, we can address that on a
00:47    10    case-by-case basis.
         11                   But given the number of plaintiffs
         12    we've got and the type of information we're
         13    talking about at this point, we would
         14    respectfully request our point of view.                    Thank
00:48    15    you.
         16                   THE COURT:        All right.       I'm going
         17    to sustain Magistrate Wilson's position and
         18    order on the Protective Order with the
         19    exception that, you know, we'll entertain on a
00:48    20    case-by-case basis the specific matters that
         21    relate to trade secrets and pricing.
         22                   Is there anything else that's
         23    beyond those two things that are -- seem to be
         24    creating this spurn?            Okay.
00:49    25                   Electronically stored information,

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          1    apparently you were attempting to come to an
          2    agreement on that, and it's broken down or has
          3    it been addressed of late?              Is there any
          4    reason you can't have the PSI protocol
00:49     5    finalized by the time the Motion For Summary
          6    Judgment is ripe?
          7                   MR. KEGLOVITS:         I wouldn't think
          8    so, your Honor, but the hang up has been how
          9    many custodians it serves.              Genentech has
00:49    10    proposed that we agree to some fixed number,
         11    but we have said is we don't really know
         12    enough about an inspection process to know how
         13    many people served in a particular role over a
         14    number of years, how many roles there are.                      I
00:50    15    think our preference would be to have them
         16    explain to us how the manufacturing process
         17    works and whose got what titles; how the
         18    marketing process works and whose got what
         19    titles, and then identify for them which of
00:50    20    those titles we want you to search ESI for
         21    over those.
         22                   As I understand it the way we came
         23    to kind of a bump in the road, and then the
         24    subsequent filings kind of took us off of the
00:50    25    ESI track because of the trip to the MDL.

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          1                   MR. O'CONNOR:         To answer your
          2    question, I think we could reach an agreement
          3    by the time the Summary Judgment is ripe.
          4                   THE COURT:        Thank you.       And if
00:50     5    there are problems, of course, we'll handle
          6    those as they come up.            It seems like they'd
          7    like for you to have future status conference
          8    dates in place.         I'm not sure we're ready for
          9    that.     You know, I think we might have a
00:51    10    shorter discussion just with lead counsel and
         11    co-lead counsel and the defendant's counsel
         12    maybe in September to see where we are, and
         13    we'll try to find a date that works for
         14    everybody.       But I don't -- I don't think we're
00:51    15    going to need a full-blown status conference
         16    at that time.        All right.        What could we have
         17    that I've not addressed or we have not
         18    addressed?
         19                   MR. KEGLOVITS:         From the
00:51    20    plaintiffs' respective, we're good.
         21                   MR. O'CONNOR:         Agreed, your Honor.
         22                   THE COURT:        Okay.     It's been nice
         23    seeing you all.         We won't I'm going to go
         24    Santa Barbara for July so I won't see you
00:52    25    then.     Let's see, all right, or you might

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          1    indicate to Ashley your schedules in September
          2    and compared with mine and see if there's a
          3    time where we can just have a little get
          4    together and not as formal as this and just
00:52     5    kind of see where we are and then map out some
          6    future conferences from that point forward.
          7                   MR. KEGLOVITS:         The joint panel on
          8    multidistrict litigations was kind enough to
          9    invite us to Santa Barbara to have argument on
00:52    10    the question of consolidation -- and I think I
         11    will speak for Alicia, but we found it a very
         12    helpful place to have arguments, so if your
         13    Honor's inclined, maybe that would be good or
         14    maybe not.
00:53    15                   (Off the Record)
         16                   THE COURT:        All right.       Thank you
         17    all.
                                   (RECORD CONDLUDED)
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        1                            CERTIFICATE
        2    STATE OF OKLAHOMA          )
                                        )   ss.
        3    COUNTY OF TULSA            )
        4
        5       I, Elizabeth Ann Behles, a Certified
        6    Shorthand Reporter in and for the State of
        7    Oklahoma, do hereby certify that the above
        8    Transcript of Hearing was taken by me on the
        9    23rd day of June 2016 and thereafter transcribed.
       10             IN WITNESS WHEREOF, I have hereunto
       11    set my hand this 28th day of June, 2016.
       12
       13
                            s/Elizabeth Ann Behles, CSR #121
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